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UNITED STATES DISTRICT COURT §§)`: °°
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Civil Case Number: (o`- \3` 'C-\/‘ ?_\ ?> "O\Q»L-‘| B‘§§llf>’
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;=5‘-?1§ §
Cat Truss, on behalfof herself and all millers Ei:§§ .i_-.-_-
si`milarly situated §_‘ __
§ ' -
»J’
Plaintiff, _
V~ f CLASS ACTIoN CoMPLAINT
Allied Interstate, Inc.
Defendanl.

 

FOr her Class Action Complaint, Plaintiff, Cat Truss, by and through her undersigned
counsel, pleading on her own behalf and on behalf of all others similarly situated, states as
follows:

INTRODUCTION

l. Plaintit`f, Cat Truss (“Plaintift"), brings this class action for damages resulting
from the illegal actions of Allied Interstate, lne. (“AI” or “Defendant”). Det`endant negligently,
knowingly, and/or willfully placed automated calls to Plaintiff’s cellular phone in violation of the
Telephone Consumer Protection Act, 47 U.S.C. § 227, el seq. (the “TCPA”).

2. Al is one of the country’s largest debt collectors, providing “accounts receivable,
customer retention and debt collection services to blue-chip companies, from a wide range of
industries . . . .”). See http://www.allied-interstate.corn/about/' (last visited Jan. 26, 2018).

3. In connection with its debt collection efforts, AI operates an aggressive contact
schedule which bombards unsuspecting consumers, with whom it has no relationship, with
robocalls.

4. - Plaintiff is such a consumer. AI is not seeking to collect a debt from her, yet has

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nevertheless has bombarded Plaintiff with autodialed calls made without her consent and over

her explicit objection.

 

5. Plaintiff seeks relief for herself and all others similarly situated for AI’s unlawful
behavior.
,]URISDICTION AND VENUE
6. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740, 751-53 (2012).

7. Jurisdiction in this District is proper pursuant to 28 U.S.C. § 1332(d)(2), as
Plaintiff seeks up to $500 in damages for each violation of the TCPA, which when aggregated
among a proposed class numbering more than a thousand members, exceeds the $5,000,000.00
threshold for federal court jurisdiction Plaintiff also alleges a national class which will result in
at least one class member residing in a different state. `

8. The Court has personal jurisdiction over AI as AI regularly conducts business
within this District.

9. Venue is proper in this District because a substantial part of the events giving rise

to the claims occurred in this District.

PARTIES

10. Plaintiff is, and at all times mentioned herein was, an adult individual residing in
Melbourne, Florida.

l 1. AI is a Minnesota corporation with its principal place of business located at 12755
Highway 55, Suite 300, Plymouth, Minnesota 55441.

12. Plaintiff does not owe any debts currently being collected by AI, has never had a
business relationship with AI and never consented to be contacted by AI on her cellular

telephone.

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THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
13. The TCPA regulates, among other things, the use of automated telephone dialing
systems.
14. 47 U.S.C. § 227(a)(l) defines an automatic telephone dialing system (“ATDS”) as
equipment having the capacity -

(A) to store or produce telephone numbers to be called, using a
random or sequential number generator; and

(B) to dial such numbers.

ALLEGATIONS APPLICABLE TO ALL COUNTS

15. AI has repeatedly placed calls using an ATDS to Plaintist cellular telephone (321)
XXX-2873.

16. Plaintiff’ s number was and is assigned to a cellular telephone service as specified in
47 U.S.C. § 227(b)(l)(A)(iii).

l7. AI calls Plaintiff from telephone number (866) 464 9481.

18. AI has inserted Plaintiff’s telephone number in an automated calling campaign to
further its efforts to contact and collect a debt from “Danielle Peterson,” a person who Plaintiff does
not have any relationship with and does not know.

19. AI has bombarded the Plaintiff with multiple daily automated calls beginning in
March 2017.

20. In March 2017, Plaintiff told AI that she is not “Danielle Peterson,” that Danielle
Peterson cannot be reached at her cellular telephone, and asked AI to stop calling her.

21. Nevertheless, the calls to Plaintiff at the -2873 number have persisted and

continued.

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22. At all times mentioned herein, AI called Plaintiff’ s cellular telephone using an
“automatic telephone dialing system” (“ATDS”) as defined by 47 U.S.C. § 227(a)(1). When
Plaintiff answered calls from AI, she heard a long period of silence before she was connected to
a live representative This is indicative of AI’s use of a “predictive dialer.”

23. The Federal Communications Commission has defined ATDS under the TCPA to
include “predictive dialers.” See In the Matter of Rules and Regulations Implementing the
Telephone Consumer Protection Act of 1991 , 23 F.C.C.R. 559, at ‘I[ 12, 2008 WL 65485 (F.C.C.)
(2008).

24. In addition, upon information and belief the hardware and software combination
utilized by AI has the capacity to store and dial sequentially generated numbers, randomly generated
numbers or numbers from a database of numbers.

25. Defendant did not have Plaintiff’ s prior express consent to place automated calls to
Plaintiff on her cellular telephone,

WE_GAT_IONS

A. The Class

26. Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf
of herself and all others similarly situated.
27. Plaintiff represents, and is a member of the following class:

All persons within the United States to whom AI or its agent/s and/or
employee/s called said person’s cellular telephone through the use of any
automatic telephone dialing system within the four years prior to the filing of
the Complaint where such person was not a person who AI was seeking to
collect a debt from.

28. Defendant and its employees or agents are excluded from the Class. Plaintiff does

not know the number of members in the Class, but believes the class members number in the.

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several thousands, if not more. Thus, this matter should be certified as a class action to assist in
the expeditious litigation of this matter.
B. Numerosity
29. Upon information and belief, Defendant has placed automated calls to cellular
telephone numbers belonging to thousands of consumers, after being informed it was calling the
wrong party, throughout the United States. The members of the Class, therefore, are believed to
be so numerous that joinder of all members is impracticable
30. The exact number and identities of the Class members are unknown at this time
and can only be ascertained through discovery. Identification of the class members is a matter
capable of ministerial determination from Defendant’s ca11 records.
C. Common Questions of Law and Fact
31. There are questions of law and fact common to the Class that predominate over
any questions affecting only individual Class members. These questions includes
a. Whether Defendant made calls to Plaintiff and Class members’ cellular
telephones using an ATDS;
b. Whether Defendant can meet its burden of showing it obtained prior express
consent to make each call;
c. Whether Defendant’s conduct was knowing willful, and/or negligent;
d. Whether Defendant is liable for damages, and the amount of such damages;
and
e. Whether Defendant should be enjoined from such conduct in the future.
32. The common questions in this case are capable of having common answers. If

Plaintiff’s claim that Defendant routinely places.automated calls to telephone numbers assigned

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to cellular telephone services is accurate, Plaintiff and the Class members will have identical
claims capable of being efficiently adjudicated and administered in this case.
D. Typicality

33. Plaintiff’s claims are typical of the claims of the Class members, as they are all
based on the same factual and legal theories.

E. Protecting the Interests of the Class Members

34. Plaintiff will fairly and adequately protect the interests of the Class and has
retained counsel experienced in handling class actions and claims involving unlawful business
practices. Neither Plaintiff nor her counsel has any interests which might cause them not to
vigorously pursue this action.

F. Proceeding Via Class Action is Superior and Advisable

35. A class action is the superior method for the fair and efficient adjudication of this
controversy. The interest of Class members in individually controlling the prosecutions of
separate claims against AI is small because it is not economically feasible for Class members to
bring individual actions.

36. Management of this class action is unlikely to present any difficulties Several
courts have certified classes in TCPA actions. These cases include, but are not limited to:
Mitchem v. Ill. Collection Serv., 271 F.R.D. 617 (N.D. Ill. 2011); Sadowski v. Med] Online, LLC,
2008 WL 2224892 (N.D. Ill., May 27, 2008); CE Desz'gn Ltd. V. Cy’s Crabhouse North, Inc.,
259 F.R.D. 135 (N.D. Ill. 2009); L0 v. Oxnard European Motors, LLC, 2012 WL 1932283 (S.D.
Cal., May 29, 2012).

§M

Negligent Violations of` the Telephone Consumer Protection Act,
47 U.S.C. § 227, et sgg.

37. Plaintiff repeats and realleges the above paragraphs of this Complaint and

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incorporates them herein by reference
38. Defendant negligently placed multiple automated calls to cellular numbers
belonging to Plaintiff and the other members of the Class without their prior express consent.
39. Each of the aforementioned calls by Defendant constitutes a negligent violation of
the TCPA.
40. Plaintiff and the Class are entitled to an award of $500.00 in statutory damages
for each call placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
41. Additionally, Plaintiff and the Class are entitled to and seek injunctive relief
prohibiting such conduct by Defendant in the future.
42. Plaintiff and the Class are also entitled to and do seek a declaration that:
a. Defendant violated the TCPA;
b. Defendant utilized an ATDS to call Plaintiff and the Class;
c. Defendant placed automated calls to the Plaintiff and the Class without prior

express consent.

will

Knowing and/or Willful Violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227, et seg.

43. Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them herein by reference.

44. Defendant knowingly and/or willfully placed multiple automated calls to cellular
numbers belonging to Plaintiff and the other members of the Class without their prior express

COIlS€l'lt.

45 . Each of the aforementioned calls by Defendant constitutes a knowing and/or

willful violation of the TCPA.

46. As a result of Defendant’s knowing and/or willful violations of the TCPA,

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Plaintiff and the Class are entitled to an award of treble damages up to $1,500.00 for each call in
violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
47. Additionally, Plaintiff and the Class are entitled to and seek injunctive relief
prohibiting such conduct by Defendant in the future.
48. Plaintiff and the Class are also entitled to and do seek a declaration that:
a. Defendant knowingly and/or willfully violated the TCPA;
b. Defendant knowingly and/or willfully used an ATDS to call Plaintiff and the
Class;
c. Defendant willfully placed automated calls to non-customers such as Plaintiff
and the Class, knowing it did not have prior express consent to do so; and
d. It is Defendant’s practice and history to place automated voice calls to non-
customers without their prior express consent.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that the Court grant Plaintiff and the Class the following
relief against Defendant:
l. Injunctive relief prohibiting such violations of the TCPA by Defendant in the future;
2. Declaratory relief as requested;
3. Statutory damages of $500.00 for each and every ca11 in violation of the TCPA
pursuant to 47 U.S.C. § 227(b)(3)(B);
4. Treble damages of up to $1,500.00 for each and every call in violation of the TCPA
pursuant to 47 U.S.C. § 227(b)(3)(C);
5. An award of attomeys’ fees and costs to counsel for Plaintiff; and
6. Such other relief as the Court deems just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

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Dated: February 8, 2018

Respectfully submitted,

By /s/ Tamra Givens
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